                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 IN RE:                                          )     3:16-CV-253         3:16-CV-393
                                                 )     3:16-CV-262         3:16-CV-395
   Post-Conviction Guideline Challenges          )     3:16-CV-267         3:16-CV-567
   Impacted By Beckles v. United States          )     3:16-CV-268         3:16-CV-665
                                                 )     3:16-CV-284         3:16-CV-676
                                                 )     3:16-CV-346         3:16-CV-706
                                                 )     3:16-CV-348         3:16-CV-713
                                                 )     3:16-CV-362         3:16-CV-715
                                                 )     3:16-CV-366         3:17-CV-38
                                                 )     3:16-CV-368         3:17-CV-56


                                            ORDER

          Each of the foregoing cases contain post-conviction challenges to either a career

 offender designation or base offense level enhancement in light of Johnson v. United States,

 135 S. Ct. 2551 (2015). On March 6, 2016, the Supreme Court held that the United States

 Sentencing Guidelines are “not amendable to vagueness challenges.” Beckles v. United

 States, No. 15-8544, 2017 WL 855781, at *7 (U.S. March 6, 2017). Because the Johnson

 decision does not undermine sentences based on Guideline enhancements, the Court believes

 summary denial of the above petitions with prejudice might be appropriate.

          To the extent that the parties disagree, the Court affords the following notice: the

 parties should file any motion that they want the Court to consider in conjunction with, or

 prior to, ruling on these petitions on or before April 1, 2017. The deadline for responses is

 April 15, 2017. Absent such a motion, the Court may summarily dismiss the above cases.

          IT IS SO ORDERED.


                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE



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